                          I Mark S. Bostick (Bar No. l1I24I)
                            Lisa Lenherr (Bar No. 258091)
                          2 WENDEL ROSEN LLP
                            I 1 1 1 Broadway, 24th Floor
                          J Oakland, California 94607 -4036
                            Telephone: (510) 834-6600
                          4 Fax: (510) 834-1928
                            Email: mbostick@wendel.com
                          ) Email: llenhen@wendel.com
                          6   Attorneys for Michael G. Kasolas, Claims
                              Representative
                          7

                          8                                LTNITED STATES BANKRUPTCY COURT

                          9               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                         10

                         11   In re:                                             Case No. 19-30088-DM

                         l2 PG&E CORPORATION                                     Chapter 11 (Lead Case)
                                                                                 (Jointly Administered)
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                         13            -and-
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      t                                                                          FIRST REPORT OF COURT
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                         14   PACIFIi GAS AND ELECTRIC                           APPOINTED CLAIMS
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niO
                              coMPANY,                                           REPRESENTATIVE
oF:
                         l5                                  Debtors.
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                         16   n Affects PG&E Corporation
                              n Affects Pacific Gas and Electric Company
                         t7   r Affects both Debtors
                         18   *All papers shall be
                                                   filed in the Lead Case,
                         r9   No. I9-30088 (DM)

                         20

                         21            MICHAEL G. KASOLAS, the Court appointed claims representative (the "Claims

                         22   Representative"), hereby submits his First Report, as follows:

                         23   I.       BACKGROUND

                         24            On November 11, 2019, the Honorable Dennis Montali, United States Bankruptcy Court,

                         25   Northern District of California, entered the Order Extending Bar Date for Fire Claimants and

                         26   Appointment of Claims Representative (the "Bar Date Extension Order"). (Docket No. 4672.) The

                         27   Bar Date Extension Order provides that the Claims Representative shall be given broad discretion

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                          I   to conduct the following tasks (the "Tasks") for the benefit of Unfiled Fire Claimantsl:

                          2          (i) identifying and locating Unfiled Fire Claimants and implementing procedures to

                          J   provide notice of the Extended Bar Date to Unfiled Fire Claimants;

                          4          (ii) obtaining and interpreting data to identify and locate Unfiled Fire Claimants and, in
                          5   particular, to identify and locate displaced Unfiled Fire Claimants.

                          6          (iii) establishing and implementing procedures to inform and educate Unfiled Fire
                          7   Claimants about their rights to file Fire Claims by the Extended Bar Date, and implementing

                          8   reasonable methods to reach Unfiled Fire Claimants to inform them of the Extended Bar Date and

                          9   how to file Fire Claimants Proof of Claim Forms on account of any Fire Claims;

                         10          (iv) assisting Unfiled Fire Claimants with the process of filing Fire Claimants' Proof of

                         11   Claim Forms in these cases, including coordinating with Prime Clerk LLP ("Prime Clerk") who

                         12   will be independently setting up locations within the fire zone areas where Prime Clerk
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                         13   representatives shall receive Proof of Claim Forms; and
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                         14          (v) periodically reporting to both this Court and to Judge Donato on progress and results.
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o-:                      15   N.     CLAIMS REPRESENTATIVE'S ROLE, BACKGROUND AND
>:-s                                 QUALIFICATIONS
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                                     Michael G. Kasolas, as the Claims Representative, is being asked to identifr, locate and
                         17
                              assist traumatized and/or displaced fire victims who are eligible to file claims by December 31,
                         18
                              2019. He is thus required to perform a substantial body of work under intense time constraints to
                         19
                              identify and reach fire victims who were not previously reached by prior noticing programs, or
                         20
                              who were unable to protect their interests in these cases. Rather than blanket the community with
                         2r
                              generalized repetition of past noticing programs, the program that is described in this Report is
                         22
                              designed to identify and target those fire victims who were not reached by, or were not responsive
                         23
                              to, prior noticing programs, or who were unable to respond because of reasons such as ongoing
                         24
                              trauma. The Claims Representative was selected based upon his ability to successfully achieve the
                         25
                              objectives of his appointment within the limited time afforded. Mr. Kasolas will oversee and direct
                         26

                         27   I Capitalized terms not defined herein shall have the meaning ascribed to them in the Bar Date
                              Extension Order
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                           1   his Team in an effort to effectively and efficiently accomplish the Tasks.

                           2            Mr. Kasolas is currently a Chapter 7 Trustee for cases in the Oakland Division of the

                           J   Northern District of California, formerly a Chapter 7 Trustee in the Sacramento Division of the

                           4   Eastern District of Califomia, has acted as a Chapter I 1 Trustee and Examiner for the Sacramento

                           5   Division of the Eastem District of California, and the Oakland, San Jose, and Santa Rosa

                           6   Divisions Northern District of California, and has previously acted, and currently acts, as

                           7   Receiver, Referee, and Partition Referee for cases in the Superior Court of California, Counties of

                           8   San Francisco, Alameda, and Contra Costa.

                           9   III.     CLAIMS REPRESENTATIVE'S TEAM
                          t0            Bar Date Extension Order provides the Claims Representative with the authority to engage

                          11   staff, personnel, vendors (including but not limited to media/advertising, project management

                          12   services, technology solutions, public relations, and other consultants), and counsel (collectively
o-b9                                 ooTeam")
                                                to assist in the implementation of the Tasks. To assist him in completion of the Tasks,
                          13   the
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                          t4 the Claims Representative has engaged the following as the Team members:
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o-:                       15                1) Media-Kinsella Media, an Exela Technologies Brand
=i:o                      t6            Role: Kinsella Media will design and implement the media outreach that will focus

                          t7 attention on those who have not filed, or been unable to file, claims in these cases.

                          18            Oualifications: Kinsella Media, a leading notice expert firm, has designed and

                          19   implemented more than 1,000 notification programs and placed over $400 million in legal notice

                          20   advertising during the course of 28 years in business. They are particularly well-suited to the task

                          21   of reaching fire victims who have not been reached by prior notices, or who have been unable to

                          22   come forward to protect their interests in these cases. Katherine Kinsella founded Kinsella Media

                          23   in 1991 and worked to establish the methodology that became the industry standard for legal
                          24   notification programs. Shannon Wheatman, Ph.D., is the current president of Kinsella Media and

                          25   has 19 years of experience in legal notice. Katherine Kinsella and Dr. Wheatman have been

                          26   recognized as legal notice experts in state and federal courts across the U.S. in both class action

                          27   and bankruptcy cases. Dr. Wheatman's plain language expertise was advanced by her education,

                          28   including her doctoral dissertation on plain language drafting of legal notice. Under their

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                          1   leadership, the firm developed and implemented some of the most complex notice programs in the

                          2   legal industry (see Exhibit A for some relevant case experience).

                                     Team Cpntribution: Kinsella Media is drafting all materials in plain language and
                          a
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                          4   designing all creative materials (flyers, poster, newspaper ads, TV and radio ads, digital banner

                          5   ads, social media ads, graphics for Facebook group page). Kinsella Media has recommended a

                          6   media program that will run in the weeks leading up to the extended deadline and will plan and

                          7   buy all approved media. Kinsella Media will continuously monitor the delivery of the campaign

                          8   and make adjustments as necessary to optimize effectiveness by targeting traumatized and/or

                          9   displaced fire victims. Upon completion of the campaign, Kinsella Media will provide an

                         10   implementation report confirming everything ran as planned.

                         11              2) Public Relations & Outreach-Holmes Associates
                         T2          Role: Holmes Associates will design and implement a communications strategy that is
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                         13   focused on the particular fire victims who have not been reached by, or responded to, prior
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oes                      T4   noticing programs.
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o-:                      15          Oualifications: Holmes Associates was established by Shelly Holmes, a 30-year marketing
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                         16   communications and public relations professional, who spent years as a senior partner in

                         17   international and regional agencies, overseeing complex clients and multimillion-dollar budgets.

                         r8   Her goal was to create an agency that used a more efficient, flexible and results-driven approach

                         19   than many other agencies were offering. The Holmes Associates team members come from large

                         20   agencies, corporations, newsrooms, startups and more. Because of these varied backgrounds and

                         2t   experiences, members are adept at branding and messaging, general and targeted market outreach,

                         22   grassroots and community outreach, key influencer relations, media relations, social media and

                         23   crisis communications. Team members currently working on this outreach program have

                         24   significant experience in public outreach and education campaigns that included working with

                         25   rural communities in distress or with unique needs and circumstances, including but not limited to

                         26   those surviving/addressing natural disasters.

                         27          Team Contribution: Holmes Associates is working with the Team to develop a

                         28   communications strategy that takes into account a short timeframe but large geographic reach,

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                          I   with the goal of using prioritized tactics that reach the most traumatized and displaced people

                          2   possible by December 3 I , 2019.It is taking into account the feedback from media, organizations

                          J   and local residents that the fire-survivor community and the region at-large is dealing with "fire

                          4   fatigue" and somewhat overwhelmed with all the information and deadlines they have received

                          5   over the last year or so. Holmes Associates will implement this strategy through the use of

                          6   Community Partnerships, Community Grassroots Outreach, Social Media and Media Relations.

                          7   Additionally, Holmes Associates is coordinating efforts with other PR and communications firms

                          8   and efforts that represent PG&E, TCC and local business concems.

                          9               3) Technology & Data-BMC Group
                         10            Role: BMC Group will design and perform the data analysis that will be critical to ensure

                         l1   that the Claims Representative does not duplicate the efforts of prior noticing programs, but

                         12   instead focuses on those fire victims who can be identified as having not filed a claim in these
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                         13   cases.
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                         I4            Qualifications: BMC Group is a leading provider of technology-enabled information
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:;o.                     15   management and collaboration services. The BMC Group team is made up of leading industry
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                         t6 professionals, many with significant experience in both the legal and administrative aspects of

                         t7 large, complex Chapter l1 and Class Action cases. For over 20 years, BMC Group has acted as

                         18   information agent, offrcial claims and noticing agent, solicitation and balloting agent and

                         19   distribution agent in thousands of cases nationwide.

                         20            Team Contribution: BMC Group's role is as 'information agent' on the Team. It will

                         2l design, host and administer a SmartRoom secure virtual dataroom that will be used to compile and
                         22   analyze data to assist the Claims Representative and his Team to pinpoint the traumatized and

                         23   displaced Unfiled Fire Claimants and ensure that the media efforts are directed to the correct

                         24   markets. Further, based on data analysis results, BMC Group will execute direct outbound print,

                         25   mail, text, and telephone notice outreach to potential Unfiled Fire Claimants. In addition, BMC

                         26   Group will design and host the website and related social media links, email inbox, and call center.

                         27   In coordination with these efforts, BMC Group will work with the Team to develop website

                         28   content and call center scripts, including FAQs.

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                           1              4) Legal-Wendel Rosen LLP
                          ,2          Role: Legal support for the Claims Representative.

                           3          Qualifications: Founded in 1909, Wendel Rosen LLP is one of the oldest and largest law
                           4   firms in the East Bay region of the San Francisco Bay Area. The firm has a nationally recognrzed

                           5   and highly regarded bankruptcy and creditor debtor rights, insolvency and reorganization law

                           6   practice. Mark Bostick, lead counsel in this matter, has more than 35 years of experience focused

                           7   on insolvency law, representing trustees, debtors, creditors and other interested parties in all forms

                           8   of insolvency proceedings and out-of-court workouts.

                           9   Team Contribution: Wendel Rosen LLP will work with the Team and third parties, including the

                          10   TCC, the Debtors, and Prime Clerk, to ensure that all media, communications and outreach

                          11   activities provide legally accurate information in compliance with the Bar Date Extension Order.

                          12   The firm will also assist the Team in preparing any necessary reports, requests for funds or
o-b9                      13   payment, and other submissions to the courts.
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                          t4   IV.    PRELIMINARY STRATEGY AND CURRENT STATUS
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o-:                       15          The Team has formulated the following preliminary2 strategy to accomplish the Tasks:
=::o                      16                  1.      Media:

                          l7           The paid media program seeks to provide notice of the Extended Bar Date to Unfiled Fire

                          18   Claimants focusing specifically on the fire counties and contiguous counties in Northern

                          19   California, and generating content that encourages those who have not yet filed proofs of claim to

                          20   do so for damages and losses not previously emphasized in previous noticing.efforts. Per

                          2l discussions with members of the TCC, it is Kinsella Media's understanding that among those least
                          22   likely to file claims are individuals who are renters, occupants, the elderly, under-employed, and

                          23   those who suffered non-property damages and loss. Although people have moved out of the area

                          24   and out of state, it is Kinsella Media's belief that many remain pursuant to news reports citing

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                               2
                          26     The Claims Representative and his Team are still gathering data and coordinating their efforts
                               with third-party groups and individuals familiar with the issues related to locating fire-related
                          27   claimants and outreach efforts. The Team is agile and can (and will) pivot when necessary to
                               ensure that funds are effectively utilized to maximize impact and effectiveness.
                          28

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                         1   20,000 fire victims still living in Chico, California.

                         2           Building off the original notice efforts, the claims outreach media program will be targeted

                         J   to the specific counties and contiguous areas affected by the Northern California Fires. The media

                         4   program will provide awareness that will dovetail with and support local on-ground efforts to

                         5   identify Fire Claimants.

                         6          The media program is a layered approach using social media, radio, local and community

                         7   newspapers, general market and cable TV, Social media will be used in the affected counties as

                         8   we believe Fire Victims are in many cases still in touch with each other.

                         9           While the reach of the media program is important, the content is unique to reflect the

                        l0 specific and targeted goals of the Claims Representatives' assigned Tasks. The extension of the
                        11   bar date, the role that residents can play in reaching out to former neighbors, and the message that

                        t2 the Court is taking this extra step in an effort to reach all fire victims, are indicative of the content
                             that will attempt to reach targeted claimants rather than blanket the community with repetition of
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0a'6                    t4 prior media content. The exact media scheduling will be determined based on timing of funding
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o-:                     l5   and on costs and targeting information.
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                        t6          For the cuffent status of media efforts, see the media activity report attached as Exhibit B.

                        l7                  2,      Public Relations & Outreach:

                        18          The limited time frame and budgeting for this program does not permit the Claims

                        19   Representative's Team to create new communications networks to reach potential fire victims.

                        20   Instead, Holmes Associates is working to establish Community Partnerships which will allow the

                        2t   Team to utilize communications networks from agencies, organizations and businesses who

                        22   already have existing channels of outreach and lists of clients or customers who have opted-in to

                        23   receive communications. Holmes Associates has created relationships with: Butte County

                        24   Department of Employment and Social Services (flyer distribution to all partners, plus flyer

                        25   distribution at their weekly survivor dinners); NorCal United Way (Facebook posting of

                        26   messaging and flyer, and text-out to 30,000 survivors who have opted-in for communications);

                        27   HopeNow (social media posts on its platforms; multiple outreach lists provided); the Long Term

                        28   Recovery Group (attended Nov. 22 agency meeting for program announcement and flyer

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                         1   distribution); the Red Cross (flyer distribution to Red Cress partners and regional offrces); and

                         2   TCC members (flyer distribution at Gridley FEMA camp, social media postings, blast emails to

                         J   partner agencies); to name a few of the current partners. An initial outreach has also been made to

                         4   the Califomia Association of REALTORS, Northern California, and LeadingAge (senior

                         5   nonprofit). Partnership development will continue through December 31,2019,

                         6          Grassroots flyer outreach has started through the Butte County Dept. of Employment and

                         7   Social Services (weekly survivor dinners and County partners); churches (Sunday bulletins,

                         8   messages from the pulpit, weekly meals for survivors), Charitable Based Organizations (flyers for

                         9   distribution through counters, clients, customers; inclusion in newsletters), survivor groups (flyer

                        10   distribution and social media platforms), FEMA facilities, and local businesses, as well as

                        11   attending community events including college football and basketball games to distribute flyers.

                        t2 Four thousand (4,000) flyers have been distributed by November 25,2019. Grassroots outreach
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                        13   and flyer distribution will continue through December 3I,2019.
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o >E                    l4          Social media is being used to "talk" to people through existing survivor and wildfire Group
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!;"-                    15   pages. Cunently the following survivor and wildfire groups have allowed the Holmes Associates
o-:
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                        t6 team to join and post: Chico Needs (29k); Camp Fire Survivors (1.8k); California Wildfires
                        17   (3.6k); Rebuilding Hope: Camp Fire Recovery Resources (2.3k). We are awaiting entry into other

                        18   related Groups, and the team is creating @NorCalFireClaims Facebook and Instagram pages

                        I9 which will be used to post information.
                        20          In coordination with Kinsella Media, media outreach is being conducted to local, regional

                        2l   and national print, broadcast and online media. Holmes Associates is also coordinating efforts

                        22   with other PR and communications firms and efforts that represent PG&E, TCC and local business

                        23   concems. A media release was written and distributed on November 15,2019, through a blast

                        24   email list and through a wire service. Cunently the pickup report from our wire service shows 559

                        25   release views and hits. The Holmes Associates team has started and will continue follow-up calls

                        26   to educate media of the efforts being undertaken to help more traumatized and displaced people

                        27   file a PG&E claim before December 3I,2019.

                        28

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                         1                    3.     Technolow &, Data:

                         2          Since November 1,2019, BMC Group has expended approximately 300 hours engaged in

                         3   the following:

                         4          .         Analysis of proof of claim data, insurance data, and other address and claims

                         5   information, to create a database of people who are most likely to be fire victims who have not

                         6   filed proofs of claim in these cases, in order to avoid repetition of past noticing programs;

                         7          .         Design, host and administer the SmartRoom secure virtual dataroom for internal

                         8   team use and for hosting data subject to the Protective Order;

                         9          .         Design and host the website www.OfficialFireClaims.com launched on November

                        10   15;

                        11          .         Host and administer email box info@officialfireclaims.com;

                        12          .         Design and host the Call Center (888.909.0100) launched on November 15;
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                        13          .         Participate in drafting and act as administrator of Frequently Asked Questions on
 c-{:
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                        t4 the "OfficialFire Claims" website;
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o-;                     l5          .         Record and post a Call Center script including FAQs, administer updates;
        o
                        t6          .         Receive, analyze and report on various data;

                        t7          .         Ongoing maintenance and administration of the website and the Call Center;

                        18          .         Participate in Team communications;

                        I9          .         Participate in communications with existing fire victim support groups; and

                        20          .         Conduct research in support of Team initiatives.

                        2t   Anticipated additional activity will include dataanalysis, mechanics of outreach, a.9., text, email

                        22   and direct mail; and social media account monitoring and maintenance targeted to identifying and

                        23   locating traumatized andior displaced Unfiled Fire Claimants. An abbreviated Spanish language

                        24   message will be recorded and added to the Call Center line. BMC Group's staffing strategy

                        25   focuses on the ability to scale, while assigning the right resources to complement the client and its

                        26   advisors.

                        27   V.     PROJECTED BUDGET
                        28          To accomplish the Tasks and above-described strategy, the Claims Representative's

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                          I   overall anticipated budget for himself and his Team for the period between November I,2019,

                          2   and January 20,2020, is $11575,380.00, broken down as follows:

                          J               Claims Representative     $ 366,000.003
                          4
                                                        Media       $ 300,000.00 (media costs)
                                                                    $ 125,000.004 (Kinsella Media fees)
                          5        Public Relations & Outreach      $ 300,380.00
                                           Technology &DaIa         $ 359,000.00
                          6
                                                         Legal      $ 125,000.00s
                          7                            TOTAL:      $ 1.575.380.00
                          8

                                     For informational purposes, as of Novemb er 20r20lg,the estimated6 fees and costs
                          9

                              incurred by the Claims Representative and his Team is as follows:
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                         11               Claims Representative     $111,000
                                                        Media       $ 27,000 (media costs)
                         t2                                         $ 77,280 (Kinsella Media fees)
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                         13        Public Relations & Outreach      $ 39,790
c:*
odro                                       Technology &Data         $ 37,500
o:;                      14
8.6                                                      Legal      $ 25,000
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o-E                      15                            TOTAL:      $317,570
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                              Pursuant to the Bar Date Extension Order, and except to the extent that advance funds are
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                              approved by further Court order, invoices for the above services will be submitted by the Claims
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                              Representative and his Team directly to the Debtors for payment and are due upon receipt without
                         t9

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                               The Claims Representative's hourly rate is $600 and $125 for his administrative staff. For
                         2I   purposes of this budget, he estimates incurring 600 hours and 48 hours for his administrative staff
                              between November 1,2019, and January 20,2020.
                         22
                              a
                               Kinsella Media's hourly rates range from $125 to $600. Both Ms. Kinsella and Dr. Wheatman
                         23   are court-recognized notice experts and their hourly rates are $600 and $500 respectively;
                              professional staff s hourly rates are between $125 and $350.
                         24
                              s
                                Wendel Rosen LLP's fees are based on its standard hourly billing rates which range from $345
                         25   to $620 for attomeys and from $165 to $300 for paralegals, law clerks, and case clerks. Hourly
                              rates are subject to reasonable change, usually at the beginning of each year. Time is billed in
                         26
                              increments of one-tenth of an hour.
                              6
                         27    For purposes of this First Report, fees and costs through November 20,2019, have been
                              estimated and are subject to change.
                         28

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                         1   further Court order. Also pursuant to the Bar Date Extension Order, the Claims Representative is

                         2   not incurring any personal responsibility or liability for these substantial costs, all of which are to

                         J   be paid by the Debtors. Due to the truncated timeframe and substantial fees and costs that must be

                         4   paid up front, funds must be advpnced as set forth in section VI.

                         5   VI.     REQUEST FOR ADVANCED FUNDS

                         6           The Bar Date Extension Order provides that the Claims Representative may apply to the

                         7   Court for approval of advance fees or costs if deemed necessary in order to successfully complete

                         8   the Tasks. The Claims Representative has determined that advance funds in the amount of

                         9   $395,000.00 are required (the'oAdvance").7

                        10           The Media portion of the Advance ($300"000.00 to Kinsella Media) will be used to

                        11   purchase and pay for advertising and services such as: booking and paying for all media; paying

                        t2 producers to create television, radio, and online video spots; voice talent; Spanish translation
o-E3
J9F                     l3 costs; and graphic designer fees to create digital banner ads. Receipt of the Advance is required as
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                        t4   soon as possible to ensure that media and other third-party services can be timely purchased and
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P6".                    15   paid for.
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                        T6           The Public Relations & gutreach portion of the Advance ($70"000 to Holmes Associates)

                        t7 will be used for part of the first-month fees (already incurred) for: strategy; social and traditional
                        18   media relations; and community outreach efforts and third-party out-of-pocket costs for non-Team

                        I9 member services (such as text-out services; printing of flyers and supplies for flyer distribution;
                        20   and other outreach expenses).

                        2l           Subject to Bankruptcy Court approval, the Debtors have agreed to advance the requested

                        22   funds as provided in the Stipulation to Advance Funds to Claims Representative, which is being

                        23   fi led contemporaneously herewith.

                        24   VII. PRELIMINARYEXPECTATIONS
                        25           As of November 19, 2}lg,there were just over 72,000 fire-related claims filed. The TCC

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                             7
                        27    The Advance is for: $300,000.00 media; $70,000 outreach, and $25,000 advance for out-of-
                             pocket expense (postage, paper and envelopes to +20,000; also technology and translation fees).
                        28

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                          1   estimates that there could be 70,000 to 100,000 fire-related claims, (Docket No. 4293, p, 9, filed

                          2   Oct 18, 20l9)-suggesting that there are as many as 28,000+ unaccounted for fire-related claims.

                          J   Since his appointment, the Claims Representative and his Team have met with various parties that

                          4   have conducted, or are continuing to conduct, outreach activities related to fire victims. Anecdotal

                          5   evidence suggests that there may be as few as 8,000 unaccounted-for claims. However, it is

                          6   impossible to know with any accuracy the actual number of unaccounted-for fire-related claims.

                          7   The Claims Representative has obtained data from the insurance subrogation group and is seeking

                          8   to obtain rebilling data from PG&E to assist in the identification and location of the Unfiled Fire

                          9   Claimants with the assistance with the TCC. Therefore, the Claims Representative and his Jeam

                         10   have developed the strategy described above to effectively and efficiently reach as many potential

                         11   Unfiled Fire Victims as possible, targeting those who are traumatized or displaced to ensure that

                         I2 they are aware of the new claims bar deadline and have the necessary support and assistance to get
q5q                      13   their claims filed by the extended claim bar date.
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                         t4   VIII. CONCLUSION
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9Eo                      15          Until and unless the Court orders otherwise, the Claims Representative will proceed to
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       o
                         T6   effectuate the foregoing strategy within the anticipated budget.

                         t7 DATED: December 3,2019                       Respectfully submitted,

                         18                                              WENDEL ROSEN LLP
                         19
                                                                         By           /s/ Lisa Lenherr
                         20
                                                                               Mark S. Bostick
                         2I                                                    Lisa Lenherr
                                                                               Attorneys for Michael G. Kasolas, Claims
                         22                                                    Representative
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                              FIRST REPORT                            of 19        12
                             EXHIBIT A


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                                                    Relevant Case Experience

In r€ l{olocaust Victim,4ssefs Litigation, Nos. CV-96-4t149, CV-96-5161, and CV-97-46L
(E.D.N.Y.),

Ca$e: 1.2.5 billion settlement - Reparations                                                                       ,

Claimant Population: f ews, Roma, homosexuals, and physically and mentally disabled
    people persecuted by the Nazis,
Notice Programr Kinsella Media had responsibility for providing notice to the Romani
   I-lolocaust victims. Using in-country organizers and human rights organizations, the
  firm designed and implemented a grassroots campaign to reach the isolated and
  educationally disadvantaged Roma in 15 countries in Europe and the former Soviet
   Union. In addition, Kinsella Media planned and managed paid media directed to fewish
   people in the Unibed States as well as press outreach in 37 countries orchestrating five
   press conferences in Berlin, Budapest, Moscclw, Paris, Tel Aviv, ancl New York over a 24-
   hour period.


Cobell v, Salazar, No. 1:96-CV-'12U5 (D.D.C.).
Case: $3,4 billion settlement - Mismanagement of Funds

Claimant Population: Bellieved to be the largest civil rights settlement with the federal
   government, thg class included over 500,000 Native Americans with Individual Indian
   Money accounts managed by the U.S, Department of the Interior for decades.
Notice Program: The notice program included direct notice supported by TV and radio ads
   in targeted areas around the country, ads in more than 75 Native American publications
   and tribal newsletters, dr"rd Internet advertising on Native American websites. Kinsella
   Media also oversaw a lrroad earned meclia campaign that distributed a press release to
   Native American and national and local mainstream publications with telephone follow-
  -up to encourage media coverage of the set[lement,                            '


Highlights: To complement paid and earned media efforts, Kinsella Media constructed a
   layered community outreach program with over L,800 tribal governments, non-profit
   organizatictns, and conrmercial enterprises participating in the notice prograrn by
   hanging poslers, showing a video about the settlemenL translated into eight Native
   American languages and Spanish, and/or distributing flyers about the settlement.




                                                               EXHIBIT A.
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    Ke ep s e agle v. Vils ack, N o. 1 : 9 9 - CV -3 LLg (I). D. C.),

    Case: $760 million settlement - Discrimination
    Claimant Population: Native American farmers, ranchers, and their heirs who were
        denied the same opportunities to obtain farm loans as white farmers.
    Notice Program: Kinsella Media placed advertisements in tribal, regional, and national
       Native American tnedia; regional and national agricultural trade publicatiohs; and a
      ma$s newspaper supplement targeted primarily at rural areas nationwide. lnternet
      banner ads on local and national Native Arnerican-focused websites .supported the print
      and broadcast aspects of the media program. Kinsella also implemented an earned
        media program that generated additional free media coverage,
    Highlights: English and Navajo radio eids were placed in key markets with significant
       concentrations of Native American farmers and ranchers along with Native American
        networks.


    In re Black Farmers Discrimination Litigation, MDL No. 0g-mc-s11 (D.D,c.),
    Case: $1.25 billion settlement - Discrimination

    Claimant Population: African American farmers who experiencecl farm loan
       discrimination by the USDA.
    Notice Program; A robust direct notice program, using an easily understanclable postcard
       rhat directed people to a toll-fi'ee number or website fbr more informaLion, was
       supported by paid and earned media efforts. The print media program was structu.red
       around advertisenlents placed in African American ancl community newspapers,
      farrning and ranching trade publications, a national newspaper supplement. Radjo was
      a critical part of the rrotice program with spots airing on radio stations in two large
      African-American networks as well as targeted local radio and agricultural radio in
      areas with the highest numbers of class members.

Highlights: Hxtensive third-party outreach includecl mailings to over 6,180 African-
      American farmer gfoup.s, predominantly African-American churches, civil rights groups,
      general agriculture organizations, historically black colleges and universities and other
      relevanl entities.




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In re: Think Finance, LLC, No. 17-33964 (Bankr. N,D. Tex.)
Case: Chapter 11 Bankruptcy with $40 million consumer settlement

Claimant Population: Over 1 million consumer payday loan borrowers
Expert Services: Kinsella Media provided an expert review of the Bar Date Notice
    Program, especially how well it reached consumers. Dr. Wheaiman testified at the 7023
    Motion llearing as an experl wifness for several groups of con5umer borrow.er
    plaintiffs. The Court qualified Dr. Wheatman as an expert on bankruptcy notice.
    Subsequently, the debtors reached a settlement with the consumer borrowers and
    Kinsella Media assisted with the developmenl of the settlement notice program,
Highlights: In the order granling lhe 7023 MoLions, U.S. Bankruptcy fudge Harlin DeWayne
   llale, noted: "The results indicate that while the Notice Procedures may have been
   constitutionally sufficient, they were not successful in facilitating creditor participation
   in these Bankruptcy Cases. A fundamental goal of bankruptcy is to promote creditor
   participation."

Good v, West Virginia American Water Co., No, L4-CV-Lil7a [S,D.W. Va.)

Case: $151 million settlement

Claimant Population: Businesses, homeowners, renters, ancl employees in nine counties
   in West Virginia who were impacted by the EII< River contamination spill. Clairns could
   be made fbr economic losses and medical costs.

Notice Program: Direct notice (in color postcards with tear-r:ff claim form) were sent to
   identifiable class members. Mailing lists were created through property lists, utility
   company customer database, and use of a third-party to identify renters. Broad notice
   through the use of paid media, incltrding color ads in local newspapers, TV, radio, and
   local Internet.

Highlights; Resulted in a 600/o claims rate.


Dolmagev. Province of Ontario, No. CV-09-376927 (Ont. S.C.|.J.
Case: $35 million settlement

Claimant Population: Former residents of three treatment facilities in Canada for the
   mentally challengecl and ctisabletl (Huronia Residential Centre, Rideau Regional Centre,
   and Southwestern Regional Centre), and heirs of deceased residents.




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Notice Program: Direct notice (in large readable fbnt, written at a 5Ch grade level) to
   identifiable former residents. Broad notice through the use of p.aid media, including
    national consumer magazines, local newspapers, TV, radio, a national newspaper, and
    national and local Internet, Media outreach using a multirnedia news release,
Hightightsr Extensive outreach to agencies that assist/house former residents, long term
   care facilities, communi[y centers, recirement homes, adult protective services workers,
   a disability law center, and a group representing people with intellectual disabilities.



In re W.R, Grace & Co, No, 0L-01139 (Bankr. D. Del.).
Claimant Population: Asbestos property damage claimants, general creditors, and
   Zonolite Attic Insulaticln claimants exposed to W.R. Grace's asbest<ls-containing
    products,
Notice Program: Three separate bar: date notice programs were tmplementecl in the U.S.
   and Canada using various combinations of consumer magazines, trade publications,
    newspaper supplements, newspapers, InterneL, and TV.
Highlights: A website and print and TV advertisements were produced in English, French
   Canadian, ahd lnuktitut, an aboriginal language, fbr the Zonolite Artic Insulation notice
   program in Canada.


In re Dow Corning, No.95-2051.2 (Bankr, H.D. Mich,).
Claimant Population: Individuals with silicone implants manufactured by Dow Corning
    subject to a bar date to file personal injury claims.
Notice Program: The notice program used extensive direct notice; r:obuqt publication and
   1l'V advertising; third-party notice to medical, health, and legal organizations; and a
   national press conference that initiated a broad public relations outreach.
Highlights:'l'he paid media alone reached 95o/o of tJ.S. adults.




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                             EXHIBIT B


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        PG&E Bankruptcy: Media Activity Report
        Updated: November 21, 2019
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                                                                                                                                                      KINSELLA
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                Component             Statu s                                                           Description
                                                   Research articles on fires and fire related websites and social media groups, review-court documents, analyze
        1     Gmeral Research        Gomplete
                                                   previous notice program declarations.
        2        Fire Profiles       Complete       Compile information on all fires and affected counties. Share with team.
                Organizatidn                        Research organizations in affected area that could assist with on-ground outreach. Prodde research and contact
        3                            Complete
                  R esea   rch                      lists to PR firm.
        4      Media Research        Complete       Analpis of media consumption habits and geograpfry of potential claimants.
        5       Media Rates          Complete       Compile media rates and timing for implementing media prognrn in December.
                   Media
m       6
              Proposal/Budget
                                     Complete       Submit media recommendationS, budgeg and potential schedule.
X
J       7      Website Review        Complete
                                                    Review both desktop and mobile claims submission pages for Prime€erlc Recommend changes to improl€
    6   8    La nding 'Page/FAQs     Complete
                                                    navigation to Fire Claimant Proof of Oaim.
                                                    Drdft initial laneauge and review feedbackfor new Landing Page and FAQs forwebsite.
               Flyer - English -
=
I                                    6mplete
IF
I
        9
                 color & b/w
                                                    English Flyers dnfted and approved.

I              Flyer - Spanish -
I       10                           Complete       Spanish Flyers drafted and approred.
                 color &.b/w

        11          Poster           Complete       Poster drafted and approved.

             Publication Notice -
        LZ                           6mplete        English Publication Notice drafted and approrred.
                   English


        13
                  flRadio            ln Progress    Shared draft VRadio scipts and TV storyboard with team forfeedback l7{21.l.
              Scrip{Storyboard


        t4   Publication Layouts     ln Progress    Publication Notice is being laid out in various ad sizes for newspapers.

             Publication Notice -
        15                           ln Progress    Trarulation has been completed. Awaiting final layout to circulate for approval.
                   Spanish
        16    Social/Digital Ads     ln Progress    Draftin8 ads that will be circulated by Norember 22.
        a7   PR Firm Assistance      ln Progress    Assist PR firm with ad/ertising research for areas where they will focus outreach.




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